245 F.2d 958
    William Andrew WARDv.UNITED STATES of America.
    No. 5595.
    United States Court of Appeals Tenth Circuit.
    May 15, 1957.
    
      Appeal from the United States District Court for the District of Kansas.
      James C. Seccombe, Jr., Denver, Colo., for appellant.
      William C. Farmer, U. S. Atty., and Milton P. Beach, Asst. U. S. Atty., Topeka, Kan., for appellee.
      Before BRATTON, Chief Judge, and HUXMAN and MURRAH, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appeal dismissed on motion of appellant.
    
    